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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
UNITED STATES OF AMERICA
vs CR NO. 1:05-10032-02-T
RONNIE L. MULLEN
ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on June 14, 2005, Assistant U. S. Attorney,
Richard Leigh Grinalds, appearing for the government, and the defendant appeared in person
and with counsel, J. Patten Brown, III, who was appointed

With leave of the Court, the defendant withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Count l of the Indictment.

This case has been set for sentencing on TuesdaL September 13. 2005 at 8:45

The defendant is allowed to remain on his present bond.

JA S D. TODD
ED STATES DISTRICT JUDGE

DATE: 29 YVM'WSF

IT IS SO ORDERED.

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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Honorable J ames Todd
US DISTRICT COURT

